                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re: SARAI SERVICES GROUP, INC. 1    )
                                        )                          Case No.: 18-82948-CRJ-11
       EIN: xx-xxx2969                  )
                                        )
              Debtor.                   )                          CHAPTER 11
 _______________________________________)

              FIRST MOTION FOR APPROVAL OF INTERIM PROFESSIONAL FEES
                AND EXPENSES FOR CHAPTER 11 DEBTORS’ ATTORNEY

        COMES NOW the duly appointed and acting Debtors-in-Possession in the above styled
 Chapter 11 case, and shows the Court as follows:

                                          General Background

        1.     On October 3, 2018, the Debtors commenced with this Court voluntary cases
 under Chapter 11 of Title 11, United States Code (the "Bankruptcy Code").

        2.     The Debtors continue to be authorized to operate the business as Debtors-in-
 Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

        3.      On October 16, 2018, this Court approved the employment of Sparkman, Shepard
 & Morris, P.C. as Debtors’ counsel. That day, this Court also entered an Order approving the
 Debtors Motions to allow its attorneys to send monthly notices of attorney’s fees and expenses
 incurred (the “Monthly Fee Notices”) to the Debtors’ 20 largest unsecured creditors, all parties
 requesting notice, any committees appointed in this matter, the Bankruptcy Administrator (the
 “Notice Parties”).

        4.      This Court’s order of November 8, 2018 also orders the Debtors counsel to file
 with the Court, beginning on January 2, 2019, and serve upon the Notice Parties not more than
 once every 90 days an interim application for allowance of compensation and reimbursement of
 expenses, pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed
 during such period (the “Interim Fee Application”). The Interim Fee Application must include a
 summary of the Monthly Fee Notices that are the subject of the request and any other
 information requested by the Court or required by the Local Rules.




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         In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
 18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
 82951-CRJ-11.




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                                      Relief Requested

        5.    The said professional currently employed by the Debtors has previously served
 Monthly Fee Notices for the months of October and November 2018, with balances due on each
 as shown below:

                                  Sarai Services Group, Inc.:

 October 2018        Compensation: $9,843.00 (65% paid) / Expenses: $221.15 (100% paid)
                     Total: $10,064.15
                     Date of Notice: November 19, 2018
                     Amount of fees held in trust pending Court approval: $0.00

 November 2018       Compensation: $1,291.00 (0% paid) / Expenses: $99.00 (100% paid)
                     Total: $1,390.00
                     Date of Notice: December 14, 2018
                     Amount of fees held in trust pending Court approval: $0.00


                                      SSG WW JV LLC

 October 2018        Compensation: $1,966.00 (0% paid) / Expenses: $0.00 (100% paid)
                     Total: $1,966.00
                     Date of Notice: November 19, 2018
                     Amount of fees held in trust pending Court approval: $0.00

 November 2018       Compensation: $6,703.50 (0% paid) / Expenses: $7.75 (100% paid)
                     Total: $6,711.25
                     Date of Notice: December 14, 2018
                     Amount of fees held in trust pending Court approval: $0.00


                                Sarai Investment Corporation

 October 2018        Compensation: $648.00 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $648.00
                     Date of Notice: November 19, 2018
                     Amount of fees held in trust pending Court approval: $129.60

 November 2018       Compensation: $124.00 (80% paid) / Expenses: $0.00 (100% paid)
                     Total: $124.00
                     Date of Notice: December 14, 2018
                     Amount of fees held in trust pending Court approval: $24.80




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                                        CM Holding, Inc.

 October 2018          Compensation: $346.00 (0% paid) / Expenses: $0.00 (100% paid)
                       Total: $346.00
                       Date of Notice: November 19, 2018
                       Amount of fees held in trust pending Court approval: $0.00


 November 2018         Compensation: $236.00 (0% paid) / Expenses: $0.00 (100% paid)
                       Total: $236.00
                       Date of Notice: December 14, 2018
                       Amount of fees held in trust pending Court approval: $0.00


       6.      No agreement exists between the attorney and any other person or entity
 whatsoever for the sharing of compensation or expenses in this case.

       7.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
 the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
 Procedure.

          WHEREFORE, the Debtor requests that the Court: enter an Order approving such
 compensation and expenses and authorizing the Debtor to pay same; and grant other and further
 relief as the Court deems just and proper.

        Respectfully submitted this the 2nd day of January, 2019.


                                         /s/ Tazewell T. Shepard IV
                                         Tazewell T. Shepard III
                                         Tazewell T. Shepard IV
                                         Attorneys to Debtor-in-Possession

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                                CERTIFICATE OF SERVICE

        This is to certify that I have this 2nd day of January, 2019 served the foregoing document
 upon the Debtor’s 20 largest unsecured creditors, Richard Blythe, Office of the Bankruptcy
 Administrator, P.O. Box 3045, Decatur, AL 35602 all persons requesting notice and the
 following listed persons by electronic service through the Court’s CM/ECF system and/or by
 depositing said copies in the United States Mail in properly addressed envelopes with adequate
 postage thereon.


                                          /s/ Tazewell T. Shepard IV
                                          Tazewell T. Shepard IV




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